     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 1 of 38 Page ID
                                     #:13211



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     Attorneys for Plaintiff DONEYDA PEREZ, DANNY NISSEN, MARLYS
 7   NISSEN, JOSEPH ANGELO, GREGORY LAPLANTE and PAUL HOLT,
 8   individually and on behalf of their respective businesses, and on behalf of all
     others similarly situated
 9   [additional counsel below]
10
                          UNITED STATES DISTRICT COURT
11

12       CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
13   DONEYDA PEREZ as an individual              Case No.: 8:16-CV-01440-JLS-DFM
14   and on behalf of all others similarly
     situated,                                   FOURTH AMENDED CLASS
15                                               ACTION COMPLAINT AND JURY
16                      Plaintiff,               DEMAND
17                v.                             Assigned for All Purposes to:
18                                               Hon. Josephine L. Staton; Dept. 10A
     DIRECTV GROUP HOLDINGS, LLC,
19   a Delaware Corporation, LONSTEIN            Complaint Filed: August 4, 2014
20   LAW OFFICES, P.C., a New York               Trial Date:      None Yet Set
     Professional Corporation; SIGNAL
21   AUDITING, INC., a New York                  REQUEST FOR JURY TRIAL
22   Corporation, JULIE COHEN
     LONSTEIN and WAYNE M.
23
     LONSTEIN,
24
                        Defendants.
25

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                                        -1-
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 2 of 38 Page ID
                                     #:13212



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                                     -2-
                    FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 3 of 38 Page ID
                                     #:13213



 1         Plaintiffs DONEYDA PEREZ, individually and on behalf of Oneida’s Beauty
 2   and Barber Salon, (“Perez”), Marlys Nissen and Danny Nissen, individually and on
 3   behalf of Mo’s One More Lounge (the “Nissens”), Joseph Angelo, individually and
 4   on behalf of Stuft Surfer Café, Inc. (“Angelo”), Gregory G. Laplante, individually
 5   and on behalf of G and G Smog Test Center dba G and G Smog (“Laplante”) and
 6   Paul Holt, individually and on behalf of 4 Dice Restaurant (“Holt”), (collectively
 7   “Plaintiffs”) on behalf of themselves and all others similarly situated, complains and
 8   alleges as follows:
 9                                NATURE OF THE CASE
10         1.     This is a putative class action brought on behalf of Plaintiffs Doneyda
11   Perez, Marlys and Danny Nissen, Joseph Angelo, Gregory G. Laplante and Paul
12   Holt, individually and on behalf of their respective businesses, and all others
13   similarly situated arising from the scheme to defraud and extort purported
14   “settlements” from innocent consumers threatened with sham litigation resulting
15   from entrapment (hereinafter the “Scheme”), perpetrated by Defendants DIRECTV
16   GROUP HOLDINGS, LLC, DIRECTV, LLC, and DIRECTV Holdings,
17   LLC,(collectively “DirecTV”), LONSTEIN LAW OFFICES, P.C. (“LLO”),
18   SIGNAL AUDITING, INC. (“Signal Auditing”), JULIE COHEN LONSTEIN (“J.
19   Lonstein”) and WAYNE M. LONSTEIN (“W. Lonstein”) (hereinafter collectively
20   referred to as “Defendants”).
21         2.     Defendants have, and continue to engage in, a Scheme and course of
22   conduct in which the owners of small businesses in the United States are the focus
23   of unsolicited sales campaigns from DirecTV, through its employees and
24   independent contractor salespeople and/or installers to sell satellite cable television
25   services. When a small business owner purchases DirecTV services, they are often
26   unwittingly provided with residential service accounts even when they specifically
27   request a commercial account or when the DirecTV representative solicits service in
28   their business location for their business. DirecTV and/or its agents do not provide
                                        -3-
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 4 of 38 Page ID
                                     #:13214



 1   the business owners with any written contracts, agreements, notices, or other
 2   documents regarding the type of satellite cable television services which they have
 3   purchased, in part to hide the fraudulent nature of the Scheme.
 4         3.     Despite DirecTV having been the subject of a nationwide investigation
 5   into questionable marketing and sales tactics, resulting in a consent decree with 48
 6   Attorneys General, these practices continue to this day.
 7         4.     Small business owners like Plaintiffs do not solicit, request or direct
 8   that the satellite cable television services which they have purchased be provided
 9   under a residential account; rather, they rely upon Defendant DirecTV and its
10   authorized agents to provide the satellite cable television services which they have
11   purchased for their business under the proper type of commercial accounts.
12         5.     Without the business owners being made aware, DirecTV designates
13   the accounts as “residential,” despite the fact that DirecTV and/or its agents solicit
14   small business owners like Plaintiffs, and those similarly situated in their business
15   establishments, for business services.
16         6.     DirecTV does no internal audits of these small business installations.
17   To the contrary, DirecTV relies completely on the information obtained from its
18   thousands of employees, agents, and independent contractor agents to set up the
19   DirecTV account. Despite the fact that order forms, customer agreements, and other
20   documents provided to the small business customer make no reference to the
21   residential nature of the account, DirecTV does nothing to verify that the customer
22   has received the requested account. Rather, without investigation, DirecTV
23   presumes that any small business customer with a residential account is illegally
24   stealing from DirecTV, and uses that improper assumption to engage in the Scheme
25   described herein.
26         7.     The Defendants’ Scheme is engendered by the Communications Act,
27   which provides for terrifyingly-high looking statutory damage awards and the
28   provision for an award of attorneys’ fees to the “aggrieved party” which can only be
                                          -4-
                         FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 5 of 38 Page ID
                                     #:13215



 1   the plaintiff, or in this case DirecTV, with no mutual provision for the innocent
 2   defendant (business owner) who succeeds in defending him/herself. The
 3   Communication Act is therefore rife for abuse by these and plaintiffs that rely on
 4   similar schemes.
 5         8.     Defendants perpetrate the Scheme using interstate wire and mails
 6   threatening sham litigation as follows:
 7                a.     DirecTV and Lonstein Law Office (“LLO”) have a long-standing
 8                       contingency model arrangement: DirecTV, LLO and Signal
 9                       Auditing perpetuate the Scheme described herein and share in the
10                       profits;
11                b.     LLO created Signal Auditing solely for the purpose of funneling
12                       audits to a captive entity that it could control, and from which it
13                       could profit. Signal Auditing is owned, managed, and controlled
14                       by J. Lonstein and W. Lonstein. It maintains no contractual
15                       relationship with LLO and recognizes no corporate formalities
16                       that distinguish it from LLO other than incorporation, which is a
17                       minor formality. In all other respects it is a captive arm of LLO.
18                       Its primary, if not only purpose, is to conduct audits related to
19                       this Scheme or schemes of a similar nature; and
20                c.     DirecTV installs the satellite cable television services and
21                       defines the account improperly as residential and not
22                       commercial.
23         9.     DirecTV provides to Scheme participants/agents Signal Auditing,
24   LLO, J. Lonstein, and/or W. Lonstein a list of authorized commercial establishments
25   (the “Legal List”) on a weekly, bi-weekly, or monthly basis. The Legal List is
26   updated by DirecTV and provided to Scheme participants Signal Auditing, LLC, J.
27   Lonstein, and/or W. Lonstein on a weekly, bi-weekly, or monthly basis. Scheme
28   participant/agent Signal Auditing, overseen by Scheme participant/agents LLO, J.
                                         -5-
                        FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 6 of 38 Page ID
                                     #:13216



 1   Lonstein, and/or W. Lonstein, employs contract “auditors/investigators” to gather
 2   “evidence” of the purported commercial use of residential accounts. Signal
 3   Auditing’s involvement in the Scheme is to provide these “auditors/investigators” to
 4   Scheme participant/agents LLO, J. Lonstein, and W. Lonstein for purposes of
 5   entrapping unsuspecting victims. Signal Auditing agents are directed and controlled
 6   by LLO, J. Lonstein, and W. Lonstein.
 7         10.    Scheme participants/agents Signal Auditing, LLO, J. Lonstein, and/or
 8   W. Lonstein distribute the Legal List from DirecTV to their employee/agent
 9   auditors/investigators, who are instructed not to surveille establishments or provide
10   audit reports regarding establishments on that list. Instead, they are told to locate
11   small business establishments that are not on the Legal List, and provide an “auditor
12   report” – a form that indicates “proof” of the alleged violation. Plaintiffs are
13   informed and believe DirecTV and/or Signal Auditing provided auditors with the
14   names or general locations of businesses to target. Upon information and belief,
15   Defendant members of the Scheme work in concert to target minority business
16   districts where DirecTV installers have previously solicited. This information is
17   sought out by Defendant Signal Auditing by trolling minority-owned small business
18   districts actively looking for “violations”. If the auditor/investigator locates a target
19   small business that is not on the Legal List but is displaying DirecTV programming,
20   the Signal Auditing auditor/investigator clandestinely obtains photographs and/or
21   video recordings which purport to show that the business in question is using
22   residential satellite cable television services in a commercial establishment. In some
23   circumstances, Defendant Signal Auditing will enter a business posing as a paying
24   patron and ask to change the TV channel to find a purported DirecTV program even
25   if such programming is not currently being broadcast at the time of the visit.
26         11.    The    auditor/investigator    then   provides    Signal    Auditing/LLO
27   “evidence” on a form affidavit drafted by Signal Auditing and/or LLO. Payment to
28   the auditor/investigator is made only if the auditor/investigator provides a “hit” – i.e.
                                         -6-
                        FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 7 of 38 Page ID
                                     #:13217



 1   their signature on the form affidavit indicating a “violation”. In other words, they
 2   are not paid unless they find a purported violation.
 3          12.   Scheme participants LLO, Signal Auditing, J. Lonstein, and/or W.
 4   Lonstein then forward the auditor/investigator “hits” back to DirecTV so that
 5   DirecTV can confirm that the hit represents an allegedly improper residential
 6   account in a commercial establishment.
 7          13.   Prior to AT&T owning DirecTV, i.e. at some of the time material
 8   hereto, and at the time these Plaintiffs were harmed, DirecTV did not pay for audit
 9   hits unless there were proceeds for the Scheme participants to share. Said another
10   way, Signal Auditing did not invoice DirecTV for auditor/investigator hits. Instead,
11   the cost of those hits was deducted by LLO from the proceeds of the Enterprise.
12          14.   If there are no Scheme proceeds, prior to the AT&T takeover of
13   DirecTV, Scheme participants/agents LLO, Signal Auditing, J. Lonstein, and W.
14   Lonstein had to absorb the cost of any hit that did not result in Scheme proceeds.
15   After the takeover by AT&T of DirecTV, and after this action was filed, upon
16   information and belief, Signal Auditing “invoices” DirecTV for all hits, likely to
17   provide the Scheme some appearance of legitimacy.
18          15.   DirecTV then authorizes LLO to open a new file and begin extortion
19   efforts.
20          16.   LLO does nothing independently to verify whether DirecTV records
21   are correct, whether the account was directly solicited by DirecTV, and the only due
22   diligence done prior to initiating Scheme extortion efforts is to verify that LLO is
23   contacting the appropriate individuals/owners of the business.
24          17.   LLO then launches a campaign of emails, telephone calls and
25   threatening, intentionally vague, and exaggerated demand letters to innocent small
26   business owner consumers threatening an action against them for violating the
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                                       -7-
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 8 of 38 Page ID
                                     #:13218



 1   federal Communications Act of 1934.1 These business owners are told they have
 2   “defrauded” DirecTV, “owe” DirecTV tens of thousands of dollars; they are misled
 3   about the strict liability, intent and knowledge components of the statute, and are
 4   threatened with ruined credit and lawsuits. LLO’s only reason for not pursuing a
 5   small business owner consumer is if they learn the consumer is in bankruptcy or
 6   unable to pay, or if the consumer threatens legal action (i.e. counterclaims or class
 7   action claims).
 8             18.   Defendants’ threatened legal actions are a sham because: (1) DirecTV
 9   installed the residential services at a business and knows the programming is being
10   shown at the business; (2) Despite knowing this; Signal Auditing, LLO, and the
11   Lonsteins make misrepresentations of fact and law in their threatening
12   communication with these victims; and (3) LLO and the Lonsteins have no intention
13   of actually filing litigation, but will threaten to do so for tactical purposes, to instill
14   fear and increase the Scheme proceeds.
15             19.   The only purpose of LLO and Lonsteins’ calls and demand letters is to
16   frighten innocent small business owners into paying settlement demands that are
17   made solely for the purpose of extorting by fraud a sum of money the innocent victim
18   will believe is a better outcome than having to defend the litigation or repair their
19   credit;
20             20.   The demand letters, emails and telephone calls start with outrageous
21   monetary demands for alleged “damages” and attorney’s fees, usually between
22   $25,000.00 - $100,000.00.
23             21.   After LLO has sufficiently terrified the small business owners, LLO
24   offers the consumer a “choice:” (1) pay a lump sum of money (usually between
25   1
       J. Lonstein referred to these demand letters in a 2018 deposition as “claim letters,” that
26   “invite the presumed pirate to please contact us to discuss the facts and circumstances of
     this allegation of commercial misuse.” J. Lonstein also testified at that same deposition that
27   any consumer who suggested they had requested a commercial account but been provided
28   a residential account would be referred back to DirecTV for “investigation,” but could
     provide no details regarding what, if any investigation ever takes place.
                                          -8-
                         FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 9 of 38 Page ID
                                     #:13219



 1   $10,000.00 - $20,000.00) or (2) pay a lower lump sum (usually between $5,000 -
 2   $10,000.00) and sign up for a lengthy commitment as a DirecTV commercial
 3   customer for a higher monthly cost2;
 4          22.   In the rare case that a lawsuit is actually filed against those business
 5   owners who refuse to pay, that litigation is a sham because the claim is based on the
 6   known false premise the small business owner has had unauthorized access to
 7   DirecTV services, among other false misrepresentations of fact and law as identified
 8   herein, when it is DirecTV who set up the customer for the threatened litigation by
 9   purposely misleading the consumer and installing residential services in a
10   commercial establishment under false pretenses.         Further, the account origin
11   (business or residential solicitation) is easily identifiable by DirecTV, LLO and
12   Signal Auditing (through LLO and/or DirecTV).
13          23.   Utilization of Defendant Signal Auditing allows the enterprise to
14   function more effectively given that “audits” would typically be performed by an
15   uninterested third party with no financial stake in the discovery of an alleged pirated
16   signal. Defendant Signal Auditing advertises to those who use its service a 4-step
17   process to complete the audit which includes: Identifying the offender, allowing the
18   offender to pay a fee (through LLO and Lonstein), covert the offender to a
19   subscribing “good faith” customer (converting to a DirectTV commercial account),
20   and prosecuting nonpaying “offenders”.3 This outline actually describes the Scheme
21   in part and shows how all of the Defendants are intertwined and crucial to
22   perpetuating the Scheme.
23

24   2
       By requiring a lengthy term contract, DirecTV avoids many of the loopholes that
25   both residential and commercial consumers use – agreeing to “promotional”
     packages and then cancelling as soon as the promotion expires. Further, it allows
26   DirecTV to increase its profits by turning lower residential rate accounts into longer
27   term higher rate business accounts which the customer may have declined originally
     if the higher rates were disclosed.
28   3   http://www.signalauditing.com/piracy-solutions
                                                    -9-
                          FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 10 of 38 Page ID
                                      #:13220



 1         24.    Defendants do not confine themselves to minority small business
 2   owners, however, they target minority small business owners with the belief that
 3   such owners are less likely to dispute or challenge the allegations because they are
 4   unable by virtue of smaller profit margins to mount a vigorous defense or seek
 5   immediate legal counsel.
 6         25.    Thus, in addition to the monthly fees already paid by the small
 7   businesses for the satellite cable television services, Defendants have obtained
 8   thousands, if not millions of dollars in Scheme proceeds paid to Defendants as
 9   “settlements,” by the small business owners who have been their victims and
10   DirecTV has gained millions of dollars in additional commercial accounts
11   improperly obtained by fraud and are therefore voidable and unenforceable.
12         26.    Due to their course of conduct, Defendants have violated the Racketeer
13   Influenced and Corrupt Organizations Act (“RICO”).
14         27.    Plaintiffs therefore seek monetary damages under RICO, on behalf of
15   themselves, and all others similarly situated within the United States.
16                                     THE PARTIES
17         28.    Plaintiff Doneyda Perez (“Perez”) is an individual who at the time this
18   action was filed, resided in Anaheim, California and now resides in Katy, Texas.
19   Ms. Perez was the sole owner of Oneida’s Beauty and Barber Salon, a beauty salon
20   located at 12342 Harbor Boulevard, Garden Grove, California 92840.
21         29.    Plaintiffs Danny and Marlys Nissen (“Nissens”) are individuals who
22   reside in Waterloo, Iowa. The Nissens are the joint owners of Mo’s One More
23   Lounge located at 4515 E. Washburn Road, Washburn, IA 50706.
24         30.    Plaintiff Joseph Angelo (“Angelo”) is an individual who resides in
25   Newport Beach, California. Mr. Angelo is the sole owner of Stuft Surfer Café
26   located at 101 15th Street, Newport Beach, CA 92663.
27         31.    Plaintiff Gregory G. Laplante is a resident of Redlands, California. Mr.
28   Laplante is the sole owner of G and G Smog Test Center dba G and G Smog located
                                      - 10 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 11 of 38 Page ID
                                      #:13221



 1   at 460 Tennessee Street, Redlands, CA 92373.
 2         32.    Plaintiff Paul Holt is a resident of Fordyce, Arkansas. He is the owner
 3   of 4 Dice Restaurant located at 1990 N. Highway 79, #167, Fordyce, AR 71742.
 4         33.    Defendant DIRECTV, LLC was a Delaware corporation whose
 5   principal place of business was 2230 East Imperial Highway, El Segundo,
 6   California. DIRECTV, LLC issued bills to DIRECTV subscribers.
 7         34.    Defendant DIRECTV Holdings, LLC was a Delaware limited liability
 8   company and had its principal place of business at 2230 East Imperial Highway, El
 9   Segundo, California. It was the U.S. operating arm of DIRECTV, Inc.
10         35.    In 2014, AT&T announced a merger to acquire DIRECTV, Inc.
11   DIRECTV, LLC and DIRECTV Holdings LLC. In or around June 2015, pursuant
12   to the merger, DIRECTV, LLC, DIRECTV, Inc. and DIRECTV Group Holdings
13   were merged into Steam Merger Sub, LLC, a subsidiary of AT&T and subsequently
14   renamed DIRECTV Group Holdings, LLC.
15         36.    DIRECTV Group Holdings, LLC is a Delaware limited liability
16   company whose principal place of business is 675 W. Peachtree Street, N.W., Suite
17   2756, Atlanta Georgia. Defendant DIRECTV Group Holdings, LLC is a successor-
18   in-interest to most if not all DIRECTV entities.
19         37.    Defendants DIRECTV, LLC, DIRECTV Holdings, LLC, and DirecTV
20   Group Holdings, LLC are collectively referred to as (“DirecTV”)
21         38.    At all times relevant hereto, Defendant DirecTV was and is engaged in
22   the business of acquiring, promoting, selling, and distributing digital entertainment
23   (i.e., broadcast and premium television programming), primarily through satellite
24   transmission to residential and commercial subscribers throughout the United States
25   and issue bills to commercial and residential subscribers.
26         39.    Defendant Lonstein Law Office, P.C. (“Defendant LLO”), is a
27   professional corporation organized under the laws of the State of New York. At all
28   times relevant hereto, the Lonstein Law Office, P.C. was, and is, a law firm retained
                                      - 11 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 12 of 38 Page ID
                                      #:13222



 1   by DirecTV to, inter alia, prosecute alleged thefts by small businesses in California
 2   of the satellite cable television services of DirecTV. Julie Cohen Lonstein and
 3   Wayne Lonstein are the named partners of LLO.
 4         40.    Defendant Julie Cohen Lonstein (“Defendant J. Lonstein”), is an
 5   individual who is licensed to practice law in the State of New York, and is a partner
 6   with the Lonstein Law Office, P.C. At all times relevant hereto, Defendant Lonstein
 7   is, and was, lead counsel for Defendant Signal Auditing and listed as “co-inventor”
 8   on the patent application Defendant Signal Auditing has filed relating to its allegedly
 9   proprietary methods of detecting signal piracy.
10         41.    Defendant Signal Auditing, Inc. (“Signal Auditing”), is a corporation
11   organized under the laws of the State of New York and maintains its principal place
12   of business in Ellenville, New York. The address listed for Defendant Signal
13   Auditing, Inc. is the same address as Defendant Lonstein Law Office. At all times
14   relevant hereto, Signal Auditing was and is engaged in the business of nationwide
15   auditing of commercial and residential piracy of telecommunication subscribers, as
16   overseen by Defendant Lonstein.
17         42.    Defendant Wayne Lonstein (“Defendant W. Lonstein”), is an
18   individual who is licensed to practice law in the State of New Jersey, Pennsylvania,
19   and Massachusetts. At all times relevant hereto, Defendant W. Lonstein is, and was,
20   lead counsel for Defendant Signal Auditing and listed as “co-inventor” on the patent
21   application Defendant Signal Auditing has filed relating to its allegedly proprietary
22   methods of detecting signal piracy.
23                             JURISDICTION AND VENUE
24         43.    This action arises under the laws of the United States. This Court has
25   original jurisdiction over the subject matter of this action pursuant to both U.S.C. §
26   1964, which entitles the Court to hear claims brought under 18 U.S.C. § 1962, and
27   also pursuant to 28 U.S.C. § 1331, which gives the court jurisdiction over actions
28   that arise under the laws of the United States.
                                       - 12 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 13 of 38 Page ID
                                      #:13223



 1         44.    This Court has personal jurisdiction over Defendants because they have
 2   significant minimum contacts with this State, and intentionally availed themselves
 3   of the laws of California by transacting a substantial amount of business throughout
 4   the State and this District, including, but not limited to, the promotion, marketing,
 5   advertising, and sale of cable television services by DirecTV throughout the Central
 6   District of California, Southern Division.
 7         45.    Venue is proper in this Court under 28 U.S.C. § 1391(b). Plaintiffs
 8   Perez (when the action was filed) and Angelo reside in the Central District of
 9   California, Southern Division; Plaintiff Laplante resides within the jurisdiction of
10   the Central District of California; and Defendants are located in, and do business in,
11   the Central District of California, Southern Division. A substantial number of the
12   events that are the subject of this Complaint took place in the Central District of
13   California, Southern Division.
14                          RICO FACTUAL ALLEGATIONS
15         46.    DirecTV maintained authorized sales representatives throughout the
16   United States instructed by DirecTV to solicit small businesses and install DirecTV
17   equipment and services.
18         47.    Defendant Signal Auditing conducts audits nationwide on behalf of
19   DirecTV and/or LLO, J. Lonstein and W. Lonstein. J. Lonstein and W. Lonstein act
20   as corporate counsel for Defendant Signal Auditing.
21         48.    At all times relevant hereto, Defendants J. Lonstein, W. Lonstein,
22   Signal Auditing, and LLO acted for, or on behalf of, DirecTV in undertaking the
23   acts and/or omissions alleged herein.
24         49.    The “Scheme” begins with DirectTV and its representatives targeting
25   and soliciting small, primarily minority-owned and small businesses to purchase
26   DirectTV satellite cable services at a “special rate” to broadcast in their commercial
27   establishment. After the business owner agrees to purchase DirectTV services, the
28   equipment is installed at their place of business by DirecTV authorized
                                      - 13 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 14 of 38 Page ID
                                      #:13224



 1   representatives. DirectTV then internally designates the account as “residential.”
 2   DirecTV then provided to Scheme participants Signal Auditing and/or LLO of a
 3   “Legal List” of DirecTV customers who should not be targeted for investigation.
 4          50.   Based on the “Legal List” and at the direction of Scheme participants
 5   DirecTV, LLO and Signal Auditing, upon information and belief that Signal
 6   Auditing auditors/investigators are provided with the names or general locations of
 7   businesses to target.
 8          51.   If an auditor/investigator is successful in locating a “hit”, LLO and/or
 9   Signal Auditing provide the auditor/investigator affidavit to DirecTV.        Signal
10   Auditing transmits the “Site Inspection” or “hit” to LLO. The “hit” is directed back
11   to DirecTV so that DirecTV can confirm its records list the account as “residential”.
12          52.   Scheme participants LLO and Lonstein, initiate telephone calls and
13   letters sent through email, the U.S. Mail and Wire to threaten these small business
14   owners with credit reporting, “owed” debts, and sham litigation unless they pay
15   outrageous sums of money.
16          53.   Through LLO and Lonstein, business owners are offered two choices:
17   (1) pay a high flat rate ($25,000-$100,000 or more) and be “done with the matter”,
18   or; (2) pay an amount a lesser flat amount and sign up for an extended contract for
19   DirectTV commercial account paying a higher monthly rate on a continuous basis.
20   When a small business owner refuses to choose, Defendants Lonstein and LLO
21   lower the amount and continue the barrage of calls until the small business owner
22   relents.
23          54.   Plaintiffs are informed and believe LLO and Lonstein rarely, if ever,
24   follow through with actual litigation because the threat of litigation is a sham to
25   secure payment from the business owners and additional commercial accounts for
26   DirecTV.
27          55.   Those customers who did/do pay were/are required to sign an
28   agreement to transmit electronically (wire), either directly through an online
                                       - 14 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 15 of 38 Page ID
                                      #:13225



 1   payment service, or a direct debit from their bank account to Defendant LLO. This
 2   Scheme is premised on fraudulent misrepresentations of fact by Defendant DirectTV
 3   to the business owner that they are signing up for an account for their business which
 4   DirectTV later contends is categorized by it as a residential account unbeknownst to
 5   the business owner. The Scheme continues with Defendant Signal Auditing’s
 6   “audit” of the business and the “determination” that the business is unlawfully
 7   broadcasting DirectTV programming in a commercial establishment. That
 8   information is then passed onto DirectTV, LLO, and Lonstein.
 9         56.    Finally, LLO and Lonstein, on behalf of DirectTV, make repeated
10   factual and legal misrepresentations to the business owners in telephone calls and
11   letters sent via U.S. Mail, falsely claiming that the business owners/victims have
12   violated “state and federal law” and “owe” DirecTV and LLO money.
13         57.    The Scheme provides lucrative proceeds for the Scheme Defendants.
14   The result of the activities of the Scheme provides substantial additional money
15   and/or increased revenue for Scheme Defendant DirecTV from accounts converted
16   to commercial at commercial rates; thousands, if not millions, of dollars in
17   “settlement” amounts; fees paid to Defendant Signal Auditing for “discovering” the
18   “piracy;” and substantial legal fees for Defendants J. Lonstein, W. Lonstein, and
19   LLO in the form of their “cut” (40%) of the “settlement” amounts.
20         58.    This conduct occurred consistently throughout the United States from
21   at least four years preceding the filing of the initial complaint in this matter and
22   continues to the present. Complaints by business owners from around the country
23   establish the continuous nature of the enterprise. Plaintiffs are informed and believe
24   the Lonstein Defendants and DirectTV have collected millions of dollars from this
25   Scheme. In 2015, Defendants LLO and Lonstein admitted via declaration, submitted
26   by Julie Cohen Lonstein, that she, Defendant W. Lonstein, and their firm sent over
27   400 letters similar to the letters sent to Plaintiffs in this case in New Jersey alone
28   during a six-year period to DirectTV subscribers similarly situated to Plaintiffs.
                                      - 15 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 16 of 38 Page ID
                                      #:13226



 1   Therefore, the Scheme has been continuous and perpetuated by Defendants for many
 2   years and Plaintiffs are informed and believe it is continuing to date.
 3         59.    Defendants were knowingly and willing participants in the Scheme, and
 4   reaped revenues and/or profits therefrom.
 5         60.    Defendants knowingly, willfully, and unlawfully conducted or
 6   participated, directly or indirectly, in a pattern of racketeering activity within the
 7   meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c). Specifically, Defendants
 8   acting collectively engaged in activity constituting a violation of 18 U.S.C. §§1341
 9   (mail fraud) and 1343 (wire fraud), the predicate acts. The racketeering activity was
10   made possible by the regular and repeated use of the services and distribution
11   channels of Defendant DirecTV, the auditing services of Defendants Signal Auditing
12   and W. Lonstein and the legal services of Defendants Lonstein and LLO.
13         61.    Defendants DirectTV, Lonstein, W. Lonstein, Signal Auditing, and
14   LLO committed multiple “Racketeering Acts,” as described herein, including aiding
15   and abetting such acts.
16         62.    The Racketeering Acts were not isolated, but rather were related in that
17   they had the same or similar purposes and results, participants, victims, and methods
18   of commission.
19         63.    In devising and executing the Scheme, Defendants committed acts
20   constituting indictable offenses under 18 U.S.C. §§ 1341 and 1343, in that they
21   devised and knowingly carried out a material scheme or artifice to defraud or to
22   obtain money by means of materially false or fraudulent pretenses, representations,
23   promises, or omissions of material facts. For the purpose of executing the Scheme,
24   Defendants committed these Racketeering Acts, intentionally and knowingly, with
25   the specific intent to advance the Scheme.
26         64.    Other methods and means that Defendant DirectTV used to execute and
27   perpetrate the Scheme include, but are not limited to, providing subscriber
28   information that they know or should know may contain significant errors to
                                       - 16 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 17 of 38 Page ID
                                      #:13227



 1   Defendants LLO, Lonstein, W. Lonstein, and/or Signal Auditing for the purpose of
 2   initiating an audit of targeted subscribers; utilizing agents to solicit small businesses
 3   for DirectTV services who misrepresent that the small business subscribers are
 4   obtaining a commercial account when they are designated by DirectTV as
 5   “residential subscribers;” and receiving collected funds electronically from
 6   Defendants Lonstein and/or LLO. Defendant DirectTV utilizes the other Defendants
 7   to form the “enterprise” acting together in pursuit of the common goal of obtaining
 8   hundreds of thousands, if not millions, of dollars from unsuspecting small business
 9   owners under the misrepresentation that they are illegally broadcasting the DirectTV
10   signal in their business when it was DirectTV that solicited and set up the account at
11   the business location, knowing it was a business location and then classifying the
12   account as “residential,” a practice that is, at its essence, entrapment.
13         65.    Other methods and means that Defendant J. Lonstein, W. Lonstein, and
14   LLO used to execute and perpetuate the Scheme include, but are not limited to,
15   utilizing their name and law firm to seek to obtain money from small business
16   owners accusing them of illegally broadcasting the DirectTV signal in their business;
17   sending threatening and misleading        form demand letters through the mail to
18   thousands, if not hundreds of thousands, of DirectTV subscribers; use of Defendant
19   J. Lonstein and W. Lonstein’s allegedly patented technology and interest in
20   Defendant Signal Auditing to target small business to accuse of piracy; and receiving
21   funds electronically from DirectTV subscribers’ bank accounts to collect Scheme
22   proceeds. The participation of Defendants LLO, J. Lonstein, and W. Lonstein permit
23   Defendant DirectTV to facilitate the collection of monies by threatening, or in very
24   rare cases, actually initiating legal proceedings against these small business owner
25   consumers.
26         66.    Other methods and means that Defendants Signal Auditing, J. Lonstein,
27   and W. Lonstein used to execute and perpetuate the Scheme include, but are not
28   limited to, use of Defendant W. Lonstein’s allegedly “patented technology” and
                                       - 17 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 18 of 38 Page ID
                                      #:13228



 1   interest in Defendant Signal Auditing to target small business to accuse of piracy,
 2   and use of Defendant Signal Auditing to obtain monies from Defendant DirectTV in
 3   the accusation of subscriber piracy. The participation of Defendants Signal Auditing
 4   and W. Lonstein allow the enterprise to function more effectively given that “audits”
 5   would typically be performed by an uninterested third party with no financial stake
 6   in the discovery of an alleged pirated signal. Defendant Signal Auditing’s process
 7   is not a patentable process. Indeed, Signal Auditing advertises to those who use its
 8   service, a 4-step process to complete the audit which includes: Identifying the
 9   offender, allowing the offender to pay a fee (through LLO and Lonstein), covert the
10   offender to a subscribing “good faith” customer (converting to a DirectTV
11   commercial account), and prosecuting nonpaying “offenders.”4 This outline actually
12   describes the Scheme and shows how all of the Defendants are intertwined and
13   crucial to perpetuating the Scheme.
14          67.   Defendants used thousands of mail and interstate wire transactions to
15   create and perpetuate the Scheme through virtually identical misrepresentations,
16   concealments and material omissions.
17                               CLASS ALLEGATIONS
18          68.   This action is brought and may properly proceed as a class action,
19   pursuant to the provisions of Federal Rules of Civil Procedure, Rule 23.
20          69.   Plaintiffs seek certification of a Class and Subclasses pursuant to
21   Federal Rules of Civil Procedure 23, which is composed of and defined as follows:
22
           a.    CLASS: All businesses and/or business owners in the United States
                 who contacted or, were solicited by DirecTV or its authorized agents;
23               who subsequently had residential DirecTV services improperly
24               installed in their commercial establishment; who were subsequently
                 audited by Defendant Signal Auditing, Inc.; and who at any time on or
25               after the day four years prior to the date on which the original
26               Complaint was filed, subsequently received communications from
                 Defendants LLO, W. Lonstein, and/or J. Lonstein (the “Lonstein
27

28   4   http://www.signalauditing.com/piracy-solutions
                                                   - 18 -
                          FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 19 of 38 Page ID
                                      #:13229



 1
                   Defendants”) on behalf of DirectTV seeking money for allegedly
                   unauthorized use by the business of DirecTV licensed programming,
 2                 which necessarily includes NFL Sunday Ticket or any other
 3                 programming for which DirecTV retained the Lonstein Defendants to
                   send communications on its behalf.
 4

 5         70.     The members of the Class for whose benefit this action is brought are
 6   so numerous that joinder of all members is impracticable.
 7         71.     There are questions of law and fact common to the members of the
 8   Class and Subclasses that predominate over questions affecting only individuals.
 9   These common questions include:
10                 a.   Whether Defendants were employed by or associated with the
11                      enterprise, participated, directly or indirectly, in the operation
12                      and/or management of the enterprise’s affairs through a pattern of
13                      racketeering activity;
14                 b.   Whether Defendants devised a scheme to defraud, entrap, and/or
15                      extort;
16                 c.   Whether the Defendants’ scheme was furthered by the use of mail
17                      or wire;
18                 d.   Whether Plaintiffs and the members of the Class and/or
19                      Subclasses suffered damages as a result of Defendants’
20                      violation(s) of RICO; and
21                 e.   What relief Plaintiffs and the members of the Class and/or
22                      Subclasses are entitled to under the UCL and RICO.
23         72.     Plaintiffs’ claims are typical of the claims of the members of the Class
24   which she represents because all such claims arise out of the same policies, practices,
25   and conduct, and the same or similar documents used by Defendants in their dealings
26   with Plaintiffs.
27         73.     Plaintiffs have no interests antagonistic to those of the Class and
28   Subclasses.
                                        - 19 -
                        FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 20 of 38 Page ID
                                      #:13230



 1          74.    The Class, of which Plaintiffs are members, are readily identifiable.
 2          75.    Plaintiffs will fairly and adequately protect the interests of the Class
 3   and has retained competent counsel experienced in the prosecution of consumer
 4   litigation. Proposed Class counsel has investigated and identified potential claims in
 5   the action. Proposed Class counsel has a great deal of experience in handling class
 6   actions, other complex litigation, and claims of the type asserted in this action.
 7          76.    A class action is superior to other available methods for the fair and
 8   efficient adjudication of this controversy since joinder of all members is
 9   impracticable. While the economic damages suffered by the individual members of
10   the Class are significant, the amount is modest compared to the expense and burden
11   of individual litigation.
12          77.    The questions of law or fact common to the members of the Class
13   predominate over any questions affecting only individual members.
14          78.    The prosecution of separate actions by individual members of the Class
15   would run the risk of inconsistent or varying adjudications, which would establish
16   incompatible standards of conduct for the Defendants in this action, or the
17   prosecution of separate actions by individual members of the Class and Subclasses
18   would create the risk that adjudications with respect to individual members of the
19   Class and Subclasses would as a practical matter be dispositive of the interests of the
20   other members not parties to the adjudications, or substantially impair or impede
21   their ability to protect their interests. Prosecution as a class action will eliminate the
22   possibility of repetitious litigation.
23          79.    Defendants have acted, or refused to act, on grounds generally
24   applicable to Plaintiffs and all class members, thereby making appropriate final
25   injunctive relief or corresponding declaratory relief with respect to the Classes a
26   whole.
27          80.    A class action will cause an orderly and expeditious administration of
28   the claims of the Class and Subclasses, and will foster economies of time, effort and
                                        - 20 -
                        FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 21 of 38 Page ID
                                      #:13231



 1   expense.
 2          81.    Plaintiffs do not anticipate any difficulty in the management of this
 3   litigation.
 4           FACTUAL ALLEGATIONS: PLAINTIFF DONEYDA PEREZ
 5          82.    Plaintiff Doneyda Perez (“Ms. Perez”), is the owner of Oneida’s Beauty
 6   and Barber Salon, a beauty salon located at 12342 Harbor Boulevard, Garden Grove,
 7   California 92840 until late 2019.
 8          83.    In or around 2013, DirecTV’s authorized representative entered the
 9   beauty salon and spoke with Ms. Perez. The individual represented that he was
10   acting on behalf of DirecTV and told Ms. Perez that DirecTV was offering a
11   promotional deal which would provide her business with satellite cable television
12   services for approximately twenty-seven dollars and fifty cents ($27.50) a month for
13   two (2) years.
14          84.    All communications with the DirecTV representative were in Spanish.
15          85.    As a result of DirecTV’s representation, Ms. Perez was interested in
16   purchasing the DirecTV promotional deal – which included Spanish-language
17   channels – for her business because she wanted something for her customers to
18   watch on television while they were in the beauty salon. Ms. Perez thought that the
19   deal offered by DirecTV was a good one, and therefore agreed to purchase the
20   DirecTV promotional deal to provide her business with satellite cable television
21   services from DirecTV for approximately twenty-seven dollars and fifty cents
22   ($27.50) a month for two (2) years.
23          86.    DirecTV never advised Ms. Perez that the satellite cable television
24   services from DirecTV would be provided to her business under a residential
25   account; nor did Ms. Perez ever ask that the satellite cable television services from
26   DirecTV be provided to her business under a residential account. Instead, based
27   solely upon the representations from Defendants and the fact that those discussions
28   had taken place inside the beauty salon, Ms. Perez relied upon DirecTV to provide
                                       - 21 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 22 of 38 Page ID
                                      #:13232



 1   her business with satellite cable television services from DirecTV under the correct
 2   type of account. Ms. Perez relied upon DirecTV to provide her business with satellite
 3   cable television services from DirecTV under the correct type of account. This
 4   reliance is what induced Ms. Perez to provide Defendants with her personal
 5   information and bank information.
 6         87.    Ms. Perez was not provided with – nor did she sign – a contract,
 7   agreement, notice or any other document related to the DirecTV promotional deal
 8   except a one-page Equipment Lease Agreement in English, either at the time of
 9   installation or at any time thereafter. Ms. Perez never signed a contract of any kind
10   to provide her business with satellite cable television from DirecTV for
11   approximately twenty-seven dollars and fifty cents ($27.50) a month for two (2)
12   years, at the time she agreed to purchase the DirecTV promotional deal. Ms. Perez
13   was only asked to provide her personal information and her bank account
14   information to Defendants.
15         88.    Ms. Perez was never advised that the satellite cable television services
16   from DirecTV would be provided to her business under a residential account.
17   Similarly, Ms. Perez never attempted to solicit, request, or direct that the satellite
18   cable television services from DirecTV be provided to her business under a
19   residential account. Based upon the representations of DirecTV and the fact the
20   physical installation was inside the beauty salon, Ms. Perez relied upon DirecTV
21   Defendants to provide her business with satellite cable television services from
22   DirecTV under the correct type of account. Thereafter, the only documents related
23   to the DirecTV promotional deal which Ms. Perez ever received were an Equipment
24   Lease Agreement in English and the monthly invoices from DirecTV, which were
25   sent to “2127 West Dogwood Avenue, Anaheim, California 92801.” The monthly
26   invoices did not state whether the account was commercial or residential. (See, e.g.,
27   the copy of the June 6, 2014, invoice from DirecTV attached hereto as Exhibit A.)
28         89.    DirecTV’s authorized representative, with whom Ms. Perez spoke, did
                                      - 22 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 23 of 38 Page ID
                                      #:13233



 1   not advise her that the satellite cable television services from DirecTV would be (or
 2   had been) provided to her business under a residential account; nor did Ms. Perez
 3   ever ask that the satellite cable television services from DirecTV be provided to her
 4   business under a residential account. Instead, based upon the fact that DirecTV had
 5   provided satellite cable television services to the salon for nearly two years, Ms.
 6   Perez continued to rely upon DirecTV to provide her business with satellite cable
 7   television services from DirecTV under the correct type of account.
 8         90.    It was, therefore, much to Ms. Perez’s surprise that she received a phone
 9   call in May 2015 from LLO, advising her they had been retained by DirecTV
10   “regarding the unauthorized reception and commercial display of DIRECTV
11   programming at your establishment in violation of the Federal Communications Act
12   and DIRECTV customer agreements.” Defendant LLO accused Ms. Perez of
13   “defrauding” and making “misrepresentations” to DIRECTV. During the May 2015
14   phone call with Ms. Perez, LLO alleged that on April 8, 2015, an “independent
15   auditor” had “observed and recorded your exhibition of DIRECTV programming”
16   without authorization, and threatened prosecution and/or litigation if Ms. Perez did
17   not contact the Lonstein Defendants within seven (7) days to resolve the matter. Ms.
18   Perez was informed that “they” were going to sue her for $75,000.00 for the
19   unauthorized use of DIRECTV services.
20         91.    Ms. Perez tried to explain that the DirecTV representative that she was
21   told she sought out from DirecTV services but that their representative came to her
22   business soliciting a new commercial account and installed it the same day. The
23   LLO representative continued to accuse Ms. Perez of misrepresentation.
24         92.    Over the next month, almost on a daily basis, Ms. Perez received
25   numerous telephone calls from a representative of Defendant LLO. The individual
26   always identified herself as DirecTV’s attorney and threatened that if Ms. Perez did
27   not pay $75,000.00, they would report her to collections and ruin her credit. Ms.
28   Perez took this to mean they were claiming she owed a debt to DirecTV. Ms. Perez
                                      - 23 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 24 of 38 Page ID
                                      #:13234



 1   continued to protest her innocence and maintain she did not owe them $75,000.00.
 2   LLO disregarded Ms. Perez’s claims and repeated the accusations over and over.
 3         93.    After several calls, LLO lowered the demand to $50,000.00. Ms. Perez
 4   again refused to pay. The LLO representative was adamant, growing angrier with
 5   each call and becoming increasingly more threatening. Ms. Perez was sent through
 6   the mail, a photograph, which Defendants LLO claim was “proof” Ms. Perez was
 7   misappropriating DirecTV programming at her beauty salon. The photo was a
 8   grainy, still photo of a television screen with unrecognizable content.
 9         94.    After over a month of nearly daily phone calls and threats, LLO told
10   Ms. Perez if she paid $5,000.00 in installments, they would not take any further
11   action. Ms. Perez was told this was the last and final “offer.”
12         95.    Ms. Perez received a letter, dated June 26, 2015, (the “June 26, 2015,
13   letter”) on the letterhead of the Lonstein Law Office, P.C., with an attached proposed
14   settlement agreement. In the proposed settlement agreement, LLO alleged that Ms.
15   Perez’s business had used the satellite cable television services of DirecTV without
16   authorization and threatened prosecution and/or litigation if Ms. Perez did not pay
17   $5,000.00. (See copy of the June 26, 2015, letter and proposed settlement agreement
18   attached hereto as Exhibit B.)
19         96.    As a result of being misled and fraudulently induced into agreeing to
20   pay $5,000.00 in order to resolve her alleged outstanding balance with DirecTV, Ms.
21   Perez began making monthly payments of $500.00 to LLO via wire transaction. It is
22   unclear what percentage of this amount was paid to DirecTV. (See July 2, 2015,
23   credit card receipt; August 7, 2015, letter; August 7, 2015, credit card receipt;
24   American Express Authorization Form; and June 1, 2016, statement attached hereto
25   as Exhibit C.) This agreement and all potential class member agreements are
26   voidable and unenforceable because they were based on fraudulent representations
27   and actions by Defendants.
28         97.    The above-described conduct by Defendants in their transactions with
                                      - 24 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 25 of 38 Page ID
                                      #:13235



 1   Plaintiffs are the same and/or substantially similar to the course of conduct engaged
 2   in by Defendants in their transactions with numerous other small business owners in
 3   California who are similarly situated to Plaintiffs.
 4           98.   Plaintiffs are informed and believes that other minority and small
 5   business owners across the United States have been victims of the Scheme.         In
 6   Florida, on or around June 2018, a Signal Auditing auditor/investigator signed a
 7   sworn affidavit claiming to have observed the 2018 Stanley Cup Final on the
 8   restaurant Novecento’s televisions. This affidavit is a sham and is false because the
 9   Stanley Cup Finals were not held on June 5, 2018.
10           99.   A small bar in Nashville, Tennessee was targeted by Signal Auditing in
11   September 2018 whereby the auditor/investigator admits to changing the channel
12   and viewing a purported DirecTV channel even though DirecTV programming was
13   not being broadcast in the commercial establishment upon arrival. This form of
14   entrapment is not isolated.
15           100. These and other examples demonstrate the Scheme has continued and
16   is remains pervasive and will continue.
17                     FACTUAL ALLEGATIONS: THE NISSENS
18           101. Plaintiffs Danny and Marlys Nissen (“Nissens”) are the owners of Mo’s
19   One More Lounge located at 4515 E. Washburn Road, Washburn, IA 50706.
20           102. In 2006, an authorized DIRECTV representative entered the Nissens’
21   business and offered a DIRECTV package that would include service at their
22   business and their home for one price. The Nissens accepted the offer and a satellite
23   dish was installed on both their home and their business. The monthly invoices were
24   sent to their residence and the Nissens continued to pay the DIRECTV invoices into
25   2013.
26           103. In approximately February or March 2013, someone came into Mo’s
27   One More Lounge and began taking pictures of the television screens. In about
28   March 2013, the Nissens began receiving calls from Defendant Lonstein Law Office
                                       - 25 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 26 of 38 Page ID
                                      #:13236



 1   accusing them of improperly broadcasting DirecTV services in the business without
 2   paying commercial rates. The Nissens explained to the LLO employee that a
 3   DirecTV representative solicited and installed the service in 2006 because they were
 4   trying to secure the business of local small businesses away from the competitor
 5   provider. DirecTV disconnected the service at both the Nissens’ business and home.
 6         104. Sometime after the service was disconnected, LLO again contacted
 7   Marlys Nissen and told her she was behind on her payments for the commercial rate
 8   it still owed to DirecTV “per their agreement”. Plaintiff Marlys Nissen stated there
 9   had been no agreement sent to them and reiterated they did nothing wrong because
10   a DirecTV authorized representative offered them this package deal in 2006.
11         105. The Nissens were not contacted by LLO again until approximately
12   February 2015 when they were served with a federal lawsuit. The Nissens retained
13   counsel to defend them against the lawsuit.
14         106. The Nissens’ attorney was initially in contact with an employee of LLO
15   to discuss the lawsuit. The attorney explained that the Nissens have a very small
16   bar/restaurant and simply cannot afford to pay thousands of dollars in fines and legal
17   fees. The Nissens attorney further informed the LLO employee that Marlys Nissen
18   was undergoing cancer treatments which meant funds were very tight at this time,
19   and that they maintain their innocence because it was the DirecTV representative
20   that solicited and sold them this package in their business.
21         107. When the Nissens’ attorney finally spoke with Defendant Julie
22   Lonstein, she argued to the attorney the that statute alleged is a “strict liability”
23   statute and that the Nissens knew they were not authorized to show DirecTV
24   programming in the business. Despite the attorney’s protests and reminders that it
25   was a DirecTV representative that installed the services at the business, Defendant
26   Julie Lonstein refused to consider their position and DirecTV refused to accept any
27   amount less than $7,500.00 to settle the matter on the further condition the Nissens
28   agree to a $15,000.00 Consent Decree in the event of a default in payments. On or
                                       - 26 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 27 of 38 Page ID
                                      #:13237



 1   about March 20, 2015, LLO gave the Nissens an ultimatum to accept the settlement
 2   within 3 hours or the “offer” would be withdrawn and DirecTV/LLO would proceed
 3   with the lawsuit. Seeing no alternative, the Nissens reluctantly settled with LLO and
 4   DirecTV despite their continued contention they did nothing wrong. The Nissans
 5   made an initial payment of $2,000.00 and then monthly payments from April 1, 2015
 6   through March 1, 2016 of $500.00 via bank wire, ACH debit, credit card over the
 7   phone, Pay Pal or certified check.
 8          FACTUAL ALLEGATIONS REGARDING JOSEPH ANGELO
 9         108. Joseph Angelo is the owner of the Stuft Surfer Café, a small “snack
10   shack” located at 101 15th Street, Newport Beach, CA 92663.
11         109. In or about 2007 or 2008 Plaintiff Angelo responded to a solicitation
12   from DirecTV and/or a DirecTV authorized representative. A DirecTV authorized
13   representative, wearing DirecTV logo clothing and driving a van with DirecTV
14   signage, met with Mr. Angelo inside the Stuft Surfer Café. The representative
15   informed Mr. Angelo he could set up the service in both the café and at his
16   residence. The DirecTV representative never said anything about having separate
17   accounts for the residence and the business. The DirecTV representative installed a
18   satellite dish on the roof of the business and receivers in both the business and the
19   residence.
20         110. In March 2015 Mr. Angelo began receiving letters and calls from
21   Defendant LLO. Mr. Angelo spoke to an employee of Defendant LLO who would
22   not listen to his explanation of how the account was established and instead
23   threatened him and told him it was going to cost him hundreds of thousands of
24   dollars. Mr. Angelo then sought legal representation. At some time after March
25   2015 Mr. Angelo’s DirecTV service at his business and his residence was
26   disconnected by DirecTV.
27         111. In a letter, Mr. Angelo’s attorney informed LLO the details of how the
28   account was set up and that Mr. Angelo had a good faith belief he was authorized
                                       - 27 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 28 of 38 Page ID
                                      #:13238



 1   to broadcast DirecTV programming in his business. Mr. Angelo’s attorney opined
 2   that the account was mistakenly set up as a residential account. In response to Mr.
 3   Angelo’s attorney, Defendant Julie Lonstein on April 13, 2015 provided a Site
 4   Inspection Report alleging an “audit” was done on February 19, 2015. Defendant
 5   Julie Lonstein completely disregarded the fact an authorized DirecTV
 6   representative installed the service in the business and instead stated as if fact: “In
 7   order for your client to have received the programming on their television, it had to
 8   have been by affirmative actions intended to purposely defraud DIRECTV, LLC.
 9   Said actions could only have been accomplished by overt acts done to avoid paying
10   the legal subscription rate for a business viewing account within a commercial
11   establishment.” The correspondence further directed Mr. Angelo’s counsel to a
12   website touting the many “claims, suits and judgments.” The letter went on to
13   state that Mr. Angelo is liable under a strict liability statute and will be liable for
14   DirecTV’s attorney’s fees and costs. The letter went on to offer $10,000 to settle
15   the matter, or in the alternative, $7,500 with the establishment of a commercial
16   account with DirecTV.
17         112. When Mr. Angelo declined LLO’s settlement demand, Defendant
18   Julie Lonstein sent a letter to Mr. Angelo’s attorney with the draft of a Complaint.
19   To Plaintiff Angelo’s knowledge, the complaint was never filed.
20         113. In June 2015 Mr. Angelo sent a letter to DirecTV directly explaining
21   that it was a DirecTV representative that came to his café to install the service. Mr.
22   Angelo also relayed to DirecTV that while this issue was pending, a representative
23   from DirecTV contacted him and when he explained the situation involving
24   Defendants LLO and Julie Lonstein, the representative advised him to open a
25   commercial account and have the equipment installed to resolve the situation.
26   Three days after the service was installed, the DirecTV service was again
27   disconnected and Mr. Angelo learned from his attorney it was because of the
28   pending claim. Mr. Angelo implored DirecTV to permit him to establish a
                                       - 28 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 29 of 38 Page ID
                                      #:13239



 1   commercial account to resolve the matter. DirecTV did not respond.
 2          114. In July, seeing no other option, Mr. Angelo paid to Defendant LLO
 3   $2,500.00. Mr. Angelo did not reinstate an account with DirecTV.
 4       FACTUAL ALLEGATIONS REGARDING GREGORY LAPLANTE
 5          115. Gregory Laplante is the owner of G and G Smog Centers, Inc. dba G
 6   and G Smog located at 460 Tennessee Street, Redlands, CA 92373. Mr. Laplante’s
 7   business performs state smog inspections of vehicles.
 8          116. In or around December 2014 one of Mr. Laplante’s customers
 9   solicited the sale and installation of DirecTV services in his business. Mr. Laplante
10   is informed and believed the customer worked for DirecTV or an authorized
11   dealer. Mr. Laplante was told by the authorized DirecTV representative that he
12   could “link” the business and residential account so Mr. Laplante would receive
13   only one invoice. The DirecTV representative came to Mr. Laplante’s business and
14   installed the satellite dish and receiver in the waiting room of Mr. Laplante’s
15   business. The DirecTV representative also installed a dish and receiver at Mr.
16   Laplante’s home approximately 12 miles away from the business.
17          117. In or around May 2015, Mr. Laplante received the standard form letter
18   from LLO accusing him of engaging in commercial misuse of DirecTV services.
19   The letter included a Site Inspection Report and photographs of the television in
20   Mr. Laplante’s waiting area. Mr. Laplante contacted an attorney in Chicago,
21   Illinois to assist him.
22          118. In or around May 2015 LLO initially demanded $10,000.00 if Mr.
23   Laplante would accept a business subscription or $7,500.00 without a business
24   subscription. Ultimately, Mr. Laplante felt he had no choice but to pay the claim.
25   He paid to Defendants LLO and DirecTV $7,500.00 without a business
26   subscription and his attorney $750.00. Soon after Mr. Laplante agreed to the
27   settlement, Mr. Laplante’s DirecTV services at his home and business were
28   “frozen” by DirecTV, but he received additional monthly invoices. After he
                                        - 29 -
                        FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 30 of 38 Page ID
                                      #:13240



 1   finished paying the settlement, DirecTV also sent Mr. Laplante an invoice for $199
 2   identified as an “early termination fee”.
 3              FACTUAL ALLEGATIONS REGARDING PAUL HOLT
 4         119. Paul Holt is the owner of 4 Dice Restaurant located at 1990 N.
 5   Highway 79, #167, Fordyce, Arkansas 71742.
 6         120. In or around 2015 or 2016 Plaintiff Paul Holt contacted DirecTV to
 7   have services installed at his residence. While the DirecTV representative was
 8   installing the service in his residence, he inquired about Mr. Holt’s
 9   profession/business. When the DirecTV representative learned he owned a
10   restaurant, he solicited Mr. Holt to install services in the restaurant claiming he
11   could put the residence and business on the same account. Plaintiff Holt inquired
12   whether that was permitted, and the DirecTV representative affirmatively stated
13   several times that it was. The DirecTV representative installed a satellite dish and
14   receiver at Mr. Holt’s residence and at the 4 Dice Restaurant.
15         121. Approximately a year and a half later, in early 2017, Plaintiff Holt
16   received a call that identified the caller as “Lonstein Law”. Plaintiff Holt did not
17   recognize the business and did not take the call. However, Mr. Holt looked up
18   Lonstein Law and discovered they go after DirecTV subscribers for alleged
19   unlawful broadcast of DirecTV services in a business with a residential account.
20   Although Plaintiff Holt did not believe he did anything wrong based on the
21   representations of the DirecTV installer, Mr. Holt promptly contacted DirecTV and
22   secured a commercial account for the restaurant.
23         122. When Lonstein Law next called, Mr. Holt was asked to provide his
24   DirecTV account number. The LLO employee seemed surprised. The LLO
25   employee disregarded the fact Mr. Holt now had a valid commercial account and
26   demanded $10,000.00 to stop pursuing Mr. Holt. Mr. Holt refused. Subsequently,
27   Mr. Holt’s DirecTV service at both his residence and business were disconnected.
28         123. Mr. Holt retained an attorney to try to reason with LLO. He was
                                       - 30 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 31 of 38 Page ID
                                      #:13241



 1   required to pay the attorney $2,000.00. Ultimately, Mr. Holt paid to LLO and
 2   DirecTV $3,000,00.
 3                                         COUNT I
 4                (Racketeer Influenced and Corrupt Organizations Act)
 5         124. Plaintiffs re-assert and incorporate by reference each and every
 6   allegation set forth in the preceding paragraphs as though set forth at length herein.
 7         125. RICO further provides that, “[i]t shall be unlawful for any person
 8   employed by or associated with any enterprise engaged in, or the activities of which
 9   affect, interstate or foreign commerce, to conduct or participate, directly or
10   indirectly, in the conduct of such enterprises affairs through a pattern of racketeering
11   activity or collection of unlawful debt.” (18 U.S.C. § 1962(c).)
12         126. RICO also provides that “It shall be unlawful for any person to conspire
13   to violate any of the provisions of subsection (a), (b), or (c) of this section.” (18
14   U.S.C. § 1962(d).)
15         127. At all relevant times, Defendants were natural persons and corporate
16   entities, and are therefore “persons” within the meaning of 18 U.S.C. § 1961(3).
17         128. Upon information and belief, Lonstein Law Office and the natural
18   persons employed thereby (Julie Lonstein and Wayne Lonstein); Signal Auditing
19   and DirecTV comprise of three distinct groups of persons that together form an
20   enterprise within the meaning of 18 U.S.C. § 1961(4). Each and every natural person
21   and/or corporate entity is associated with the enterprise.
22         129. Upon information and belief, each group of defendants, the Lonstein
23   Law Office and the nature persons employed thereby (Julie Lonstein and Wayne
24   Lonstein); Signal Auditing and DirecTV also qualify as separate and distinct
25   enterprises within the meaning of 18 U.S.C. § 1961(4). Each and every Lonstein
26   defendant is employed by or associated with the Lonstein Law Office enterprise;
27   each Signal Auditing defendant is employed by or associated with the Signal
28   Auditing enterprise; and each DirecTV defendant is employed by or associate with
                                       - 31 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 32 of 38 Page ID
                                      #:13242



 1   the DirecTV enterprise.
 2         130. Collectively, upon information and belief, the individuals and entities
 3   that constitute the Lonstein Defendants, the Signal Auditing Defendants and the
 4   DirecTV Defendants constitute an association-in-fact within the meaning of 18
 5   U.S.C. ¶ 1961(4).
 6         131. As set forth herein above the purpose of the enterprise/enterprises (the
 7   “Enterprise”) is to defraud and extort purported “settlements” and increase
 8   DirecTV’s commercial accounts from innocent consumers threatened with sham
 9   litigation resulting from entrapment and/or false claims of a debt owed. This is
10   accomplished by the Defendants by targeting small businesses for unsolicited sales
11   campaigns and wrongfully providing them residential service in commercial
12   establishments known to be commercial establishments at the time of the sale; the
13   Signal Auditing Defendants engaging in surreptitious “investigation” of these
14   businesses at the direction of the Lonstein and DirecTV Defendants; and the
15   Lonstein Defendants engage in threatening communications intended to scare these
16   small business consumer victims into paying “settlements” and agreeing to lengthy
17   commercial contracts with the threat of sham litigation involving allegations of
18   violations of the Communications Act of 1934 claiming Plaintiffs and Plaintiff Class
19   engaged in the theft of DirecTV programming. The enterprise was formed for the
20   purpose    of   extorting   settlement   money     from    unsuspecting    business
21   owners/consumers, increasing through fraud DirecTV’s business accounts for which
22   it charges higher rates and enriching all Defendants. The Scheme sets up business
23   owners/consumers to be later accused and threatened with prosecution for violations
24   of the Communications Act, 29 U.S.C. § 605 based on Defendants’ false accusations
25   of theft of DirecTV services levied against the small business owners accusing them
26   of broadcasting residential DirecTV programming in a commercial establishment.
27         132. The Enterprise has been in engaged in, and continues to be in engaged
28   in, activities that affect interstate commerce. Defendants’ unlawful Enterprise in
                                      - 32 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 33 of 38 Page ID
                                      #:13243



 1   violation of RICO has been and remains longstanding, continuous, and open-ended.
 2         133. Defendants, individually and collectively, as an Enterprise, have
 3   engaged, directly or indirectly, in a pattern of racketeering activity and have,
 4   therefore, violated 18 U.S.C. § 1962(c).
 5         134. Defendants’ Extortion Scheme includes, but is not limited to:
 6               a.     Mail Fraud: Defendants violated 18 U.S.C. § 1341, by sending
 7                      or receiving or causing to be sent or received, materials via email,
 8                      U.S. mail or commercial interstate carriers for the purpose of
 9                      executing the Scheme, which amounts to a material scheme to
10                      defraud and obtain money on false pretenses, misrepresentations,
11                      and/or omissions. Defendants’ use of mail formed a central
12                      feature of the scheme and included communications by form
13                      letters from LLO on LLO letterhead listing the Lonstein
14                      Defendants as attorneys, and includes the alleged “evidence”
15                      provided by Defendants Signal Auditing in the form of a “Site
16                      Inspection,” created by the Signal Auditing auditor at the
17                      direction of LLO, mailed to class member targets of the Scheme,
18                      and the series of follow up notices mailed to class members who
19                      did not fully pay the demanded amounts in response to the initial
20                      letter as described herein. In addition, class member victims
21                      were instructed by Defendants to send payments demanded
22                      either by wire as discussed below or by certified check through
23                      the U.S. Mail.
24               b.     Wire Fraud: Defendants violated 18 U.S.C. § 1343, by
25                      transmitting, receiving or causing to be transmitted or received
26                      materials and monies by wire for the purpose of executing the
27                      Scheme to defraud and obtain money on false pretenses,
28                      misrepresentations and/or omissions. Defendants instructed
                                      - 33 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 34 of 38 Page ID
                                      #:13244



 1                       Plaintiffs and class members to make payments through the use
 2                       of interstate wire communications in violation of 18 U.S.C. §
 3                       1343. The materials transmitted and/or received, include, but are
 4                       not limited to, interstate credit card or bank transactions, emails
 5                       to the target business owners, ACH debit transactions, and/or
 6                       PayPal wire transmission to Defendants LLO which then such
 7                       proceed split is then transmitted via wire and/or check to the
 8                       other Defendants. On information and belief, Plaintiffs allege,
 9                       all participants in the Scheme transmit and share information
10                       through an online web-based portal that can be accessed by all
11                       Scheme participants. Defendant Signal Auditing uses the portal
12                       to obtain the DirecTV “Legal Lists” and where the
13                       auditors/investigators transmit or upload site inspections
14                       showing “hits”. LLO accesses the portal to determine which
15                       small business owners to target with emails, letters and calls to
16                       obtain the Scheme proceeds.       Upon information and belief,
17                       Plaintiffs further allege Scheme proceeds are distributed to
18                       Scheme participants through wire transfers and/or U.S. Mail.
19        135.    Defendants have used email, U.S. mail and wires in connection with
20   every small business target and subsequently “audited,” and each use of the mails
21   and wires has furthered the fraudulent Scheme and enables Defendants to take
22   money and property from Plaintiffs and putative class members by means of false
23   pretenses and representations
24        136.    Defendants violated 18 U.S.C. § 1962(d) by conspiring to engage in
25   racketeering activity.
26        137.    Defendants, individually and jointly, as part of an enterprise, agreed to
27   commit more than two racketeering acts, with knowledge that the objective was
28   unlawful and intended to further that unlawful objective. The multiple acts of
                                       - 34 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 35 of 38 Page ID
                                      #:13245



 1   racketeering activity that they committed and/or conspired to, or aided and abetted
 2   in the commission of, were related to each other, pose a threat of continued
 3   racketeering activity, and therefore constitute a “pattern of racketeering activity.”
 4        138.    Defendants’ predicate acts of racketeering within the meaning of 18
 5   U.S.C. § 1961(1), include wire fraud and mail fraud as described herein to perpetuate
 6   the Scheme described herein: (a) targeting and soliciting small business owners to
 7   purchase satellite cable television services from DirecTV at a "special" price or rate;
 8   (b) establishing a residential satellite cable television service account for the small
 9   businesses although Defendants knew or should have known that the small business
10   owners intended to use those services in their businesses; (c) providing satellite cable
11   television to small businesses under residential accounts although the small business
12   owners relied upon Defendants to provide commercial services; (d) deliberately and
13   specifically targeting small business owners for a "signal audit'' based on a pre-
14   determined finding that the small business owners had "pirated" or "stolen" satellite
15   cable television services from DirecTV; and (e) threatening the small business
16   owners with repeatedly factual and legal misrepresentations in the form of claims of
17   amounts actually “owed”, threats of damage to credit profile, threats of sham
18   prosecution and/or costly legal action, threatening prosecution in an action involving
19   violations of the Communications Act of 1934, all undertaken in order to extort an
20   unreasonable and unconscionable "settlement" from them and increase DirecTV’s
21   lucrative commercial accounts. The predicate acts by the Enterprise have continued
22   from at least 4 years prior to the filing of this action, during the pendency of this
23   action and based on information and belief, will continue. Small business owners
24   from various cities and states throughout the United States continue to be victimized
25   by Defendants through this Scheme.
26        139.    Defendants’ predicate acts of racketeering amount to a material scheme
27   to defraud and to obtain money on false pretenses, misrepresentations, promises,
28   and/or omissions.
                                       - 35 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 36 of 38 Page ID
                                      #:13246



 1         140.   Defendants      knowingly      and      intentionally    made      these
 2   misrepresentations, acts of concealment and failures to disclose. Defendants either
 3   knew or recklessly disregarded that these were material representations and
 4   omissions. Defendants, and all of them, participate in the Scheme designed to collect
 5   from unsuspecting small business owners/consumers an unlawful debt.
 6         141.   Plaintiffs and those similarly situated to her have suffered harm and
 7   have been injured from Defendants' violations of RICO in the amount of the
 8   unexpected increased monthly fees, forced continued subscriber status,
 9   indebtedness, settlement payments, either paid or to be paid, constituting
10   overpayment for services and an injury to property. In the absence of Defendants’
11   violations of 18 U.S.C. § 1962, Plaintiffs and the Class would not have incurred
12   these concrete financial losses.
13         142.   Plaintiffs’ and the Classes’ injuries were directly and proximately
14   caused by Defendants’ racketeering activity.
15         143.   Defendants knew and intended that Plaintiffs and the Class would rely
16   on the Scheme’s fraudulent representations and omissions. Defendants knew and
17   intended Plaintiffs and the Class would pay monies to Defendants as a result of threat
18   of sham litigation and misrepresentations of the ramifications if Plaintiffs and the
19   Class did not pay.
20         144.   Plaintiffs’ and the Classes’ injuries were directly and proximately
21   caused by Defendants’ racketeering activity.
22         145.   Defendants knew and intended that Plaintiffs and the Class would rely
23   on the Scheme’s fraudulent representations and omissions. Defendants knew and
24   intended Plaintiffs and the Class would pay monies to Defendants as a result of same.
25         146.   Plaintiffs and all others similarly situated are thus entitled to all
26   appropriate legal and equitable relief, an award of treble their damages, plus
27   attorney's fees, and costs pursuant to 18 U.S.C. § 1964(c).
28   ///
                                       - 36 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 37 of 38 Page ID
                                      #:13247



 1                               PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiffs on behalf of themselves and all others similarly
 3   situated, demands judgment against Defendants as follows:
 4         1.     An order certifying the Class for money damages under Federal Rules
 5    of Civil Procedure Rule 23, and appointing Plaintiff as Class Representative and
 6    appointing her attorneys as Class Counsel;
 7         2.     Order Defendants to engage in a corrective notice campaign, and
 8    requiring Defendants to refund to Plaintiff and all Class Members the funds paid;
 9         3.     An accounting of all amounts that Defendants collected from Plaintiff
10    and Class Members as a result of the Scheme;
11         4.     A judgment for actual damages;
12         5.     A judgment for compensatory damages;
13         6.     A judgment for treble damages under RICO;
14         7.     A judgment for reasonable attorney fees and costs of suit in connection
15    with this action, pursuant to the RICO [18 U.S.C. §1964(c)], California Civil Code
16    1021.5 and any other applicable statute;
17         8.     A judgment for pre-judgment and post-judgment interest; and/or
18         9.     A judgment for all such other and further relief as the Court deems
19    equitable and just.
20

21   Dated: December 17, 2020        MAHONEY LAW GROUP, APC
22                                   LISA L. CLAY, ATTORNEY AT LAW
23
                                     /s/Katherine J. Odenbreit
24
                                     Katherine J. Odenbreit
25                                   Lisa L. Clay
                                     Attorneys for Plaintiff, DONEYDA PEREZ, DANNY
26                                   NISSEN, MARLYS NISSEN, JOSEPH ANGELO,
                                     GREGORY LAPLANTE and PAUL HOLT, individually
27                                   and on behalf of their respective businesses and on behalf of
                                     all others similarly situated
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                                       - 37 -
                       FOURTH AMENDED CLASS ACTION COMPLAINT
     Case 8:16-cv-01440-JLS-DFM Document 498 Filed 12/17/20 Page 38 of 38 Page ID
                                      #:13248



 1                                     JURY DEMAND
 2         Plaintiffs demand a trial by jury on all issues subject to trial.
 3

 4   Dated: December 17, 2020         MAHONEY LAW GROUP, APC
 5                                    LISA L. CLAY, ATTORNEY AT LAW
 6
                                      /s/Katherine J. Odenbreit
 7
                                      Katherine J. Odenbreit
 8                                    Lisa L. Clay
                                      Attorneys for Plaintiff, DONEYDA PEREZ,
 9
                                      DANNY NISSEN, MARLYS NISSEN, JOSEPH
10                                    ANGELO, GREGORY LAPLANTE and PAUL
                                      HOLT, individually and on behalf of their
11
                                      respective businesses and on behalf of all others
12                                    similarly situated
13

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                                      - 38 -
                      FOURTH AMENDED CLASS ACTION COMPLAINT
